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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


      ERNEST LAIL,                        1:20-cv-2840 (NLH)

                      Petitioner,         MEMORANDUM OPINION & ORDER

           v.

      J.L. JAMISON,

                     Respondent.


APPEARANCES:

Ernest Lail
11572-057
Fairton
Federal Correctional Institution
P.O. Box 420
Fairton, NJ 08320

       Petitioner pro se


Craig Carpenito, United States Attorney
John Francis Basiak, Assistant United States Attorney
U.S. Attorney's Office
402 E. State Street, Room 430
Trenton, NJ 08608

       Attorneys for Respondent

HILLMAN, District Judge

       WHEREAS, Petitioner filed a petition for writ of habeas

corpus under 28 U.S.C. § 2241 on March 16, 2020, see ECF No. 1;

and

       WHEREAS, the Court ordered Respondent to answer the

petition on May 12, 2020, see ECF No. 7; and
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     WHEREAS, on June 19, 2020, Respondent requested an

extension of 14 days, making the answer due June 26, 2020, see

ECF No. 12; and

     WHEREAS, the Court granted Respondent’s request, ECF No.

13; and

     WHEREAS, Respondent has not filed its answer,

     THEREFORE, IT IS on this       9th    day of July, 2020

     ORDERED that within 14 days of this Order, Respondent shall

show cause in writing why the petition should not be granted;

and it is finally

     ORDERED that the Clerk shall send a copy of this Order to

Petitioner by regular mail.


                                             s/ Noel L. Hillman
At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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